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                        Exhibit A

                    (Proposed Order)
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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

In re:                                                       Chapter 11

FTX TRADING LTD., et al., 1                                  Case No. 22-11068 (JTD)

         Debtors.                                            (Jointly Administered)

                                                             Re: D.I. ____________

    ORDER (I) GRANTING THE EXAMINER AUTHORITY TO CONDUCT
 ADDITIONAL INVESTIGATIONS AND (II) ESTABLISHING THE SCOPE, COST,
DEGREE, AND DURATION OF THE SECOND PHASE OF THE EXAMINATION AND
                   GRANTING RELATED RELIEF

                 Upon the motion (the “Motion”) 2 of the examiner Robert J. Cleary (the

“Examiner”) for entry of an order (this “Order”) (a) granting the Examiner authority to conduct

additional investigations and (b) establishing the scope, cost, degree, and duration of these

additional investigations and granting related relief; this Court having jurisdiction to consider the

Motion pursuant to 28 U.S.C. §§ 157 and 1334 and the Amended Standing Order of Reference

from the United States District Court for the District of Delaware, dated February 29, 2012; and

this Court being able to issue a final order consistent with Article III of the United States

Constitution; and venue of these Chapter 11 Cases and the Motion in this district being proper

pursuant to 28 U.S.C. §§ 1408 and 1409; and this matter being a core proceeding pursuant to 28

U.S.C. § 157(b); and this Court having found that proper and adequate notice of the Motion and

the relief requested therein has been provided in accordance with the Bankruptcy Rules and


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    The last four digits of FTX Trading Ltd.’s and Alameda Research LLC’s tax identification number are 3288 and
    4063 respectively. Due to the large number of debtor entities in these Chapter 11 Cases, a complete list of the
    Debtors and the last four digits of their federal tax identification numbers is not provided herein. A complete
    list of such information may be obtained on the website of the Debtors’ claims and noticing agent at
    https://cases.ra.kroll.com/FTX. The principal place of business of Debtor Emergent Fidelity Technologies Ltd
    is Unit 3B, Bryson’s Commercial Complex, Friars Hill Road, St. John’s, Antigua and Barbuda.

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    Capitalized terms not otherwise defined herein are to be given the meanings ascribed to them in the Motion.
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Local Rules, and that, except as otherwise ordered herein, no other or further notice is necessary;

and objections (if any) to the Motion having been withdrawn, resolved or overruled on the

merits; and this Court having found and determined that the relief set forth in this Order is in the

best interests of the Debtors and their estates; and that the legal and factual bases set forth in the

Motion establish just cause for the relief granted herein; and after due deliberation and sufficient

cause appearing therefor;

               IT IS HEREBY ORDERED THAT:

               1.      The Motion is GRANTED as set forth herein.

               2.      During the second phase of the examination (the “Phase II Examination”),

the Examiner shall, no later than 70 days from the entry of this Order, file a report (the “Phase II

Report”) which summarizes the additional investigations conducted by the Examiner (the

“Investigations”).

               3.      The Investigations shall be comprised of the following issues:

                       1. S&C’s representation of Sam Bankman-Fried (“Bankman-Fried”) in

                            connection with his purchase of the Robinhood Shares. This inquiry

                            should focus on (1) the scope and contours of that representation, and

                            (2) based on that representation, what, if anything, S&C knew or

                            should have known about the FTX Group’s misconduct and/or fraud.

                       2. Potential claims against the former shareholders of Ledger Holdings,

                            Inc. (“LHI”) that sold their interests prepetition to West Realm Shires

                            Inc. (“WRS”), to the extent any such claims were not released in the

                            Debtors’ Court-approved postpetition sale of LHI to M 7 Holdings.

                            This inquiry should (1) determine whether an avoidance action(s) is

                            warranted with respect to unreleased shareholders, and (2) enable the


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                           Examiner to report on the underlying details of the prepetition sale of

                           LHI to WRS.

                           3. The “holes” or balance sheet shortfalls at FTX.US. This inquiry

                              should center on (1) the existence of and the reasons these holes

                              arose at FTX.US, (2) whether the balance sheet holes were the

                              result of commingling of customer or corporate assets, (3) the

                              frequency and magnitude of the holes, and (4) how they were

                              resolved and by whom.

               4.      Based on the assumption that there will be no impediments to or delays in

the Examiner gaining access to all relevant information, the cost of the Phase II Examination

shall not exceed $ 3,000,000 for the fees and expenses of the Examiner and professionals

retained by the Examiner. This is without prejudice to the Examiner’s right to seek an increase

of the budget for cause shown, after notice and an opportunity for parties in interest to be heard.

The fees and the expenses of the Examiner and any professionals retained by the Examiner shall

be subject to 11 U.S.C. § 330.

               5.      The Phase II Report shall be filed no later than 70 days from entry of this

Order.

               6.      The Phase II Report shall initially be filed under seal in its entirety. The

unredacted Phase II Report shall be provided or otherwise made available to the Court, counsel

to the Debtors, counsel to the Committee, and counsel to the U.S. Trustee. The foregoing parties

shall receive the unredacted Report solely for the purpose of allowing the Examiner, the Debtors,

the Committee, and the U.S. Trustee (each a “Party” and collectively the “Parties”) to discuss

any potential redactions necessary to protect privileged information.




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               7.      To the extent the Parties do not seek to redact any portion of the

Examiner’s Phase II Report, then the Examiner shall file a fully unredacted version of the Phase

II Report so that it is publicly available on the docket on or before 77 days from the entry of this

Order. If the Parties do seek to redact portions of the Phase II Report, and no Party objects to the

proposed privilege redactions, then on or before 77 days from the entry of this Order, (i) the

Examiner shall file the Phase II Report so that it is publicly available on the docket reflecting the

agreed-upon redactions and (ii) the Parties shall file a sealing motion seeking approval of such

redactions. If the Parties are unable to reach agreement on any proposed redactions by 77 days

from the entry of this Order, then 77 days from the entry of this Order, (i) the Examiner shall file

the Phase II Report so that it is publicly available on the docket reflecting agreed-upon

redactions in addition to all disputed redactions and (ii) the Parties shall file a sealing motion or

motions seeking Court approval of the agreed-upon redactions and Court resolution on the

disputed redactions. The redactions shall remain under seal until the application is resolved. For

the avoidance of doubt, the disclosure of the unredacted version of the Phase II Report to the

Parties for purposes of identifying potential privilege redactions shall neither constitute nor be

deemed a waiver by any Party of, as applicable, work-product protection, attorney-client

privilege, or any other applicable privilege or protection.

               8.      The proposed redactions shall be approved upon (i) the agreement of the

Parties approved by Court order or (ii) a Court ruling, memorialized by a Court order as to what

privileged material (if any) should be redacted from the Phase II Report. If the Court’s order

does not approve all of the redactions reflected in the Phase II Report filed 77 days from the

entry of this Order, then within three business days of entry of the Court’s order, the Examiner

shall file on the public docket a copy of the Phase II Report reflecting only the Court-approved




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redactions. The Examiner, the Debtors, and the Committee shall thereafter maintain the

confidentiality of the unredacted version of the Phase II Report. The U.S. Trustee shall not

disclose the redacted parts of the Phase II Report (if any) consistent with 11 U.S.C. §107(c).

               9.        Subject to the provisions herein, Paragraphs 6 through 12 of the Order (I)

(A) Establishing the Scope, Cost, Degree, and Duration of the Examination and (B) Granting

Related Relief; and (II) Permitting the Filing of Certain Information Regarding Potential Parties

in Interest Under Seal, ECF No. 9883 (the “Examination Scope Order”) remain in full force and

effect for the Phase II Examination.

               10.       This Order is without prejudice to the right of any party in interest to seek

relief from the Court, including modification of the scope of the Phase II Examination. This

Order is also without prejudice to the Examiner’s right to seek other relief as he may otherwise

deem appropriate in furtherance of the discharge of his duties and in connection with the Phase II

Examination.

               11.       The Examiner may take all actions necessary to effectuate the relief

granted by this Order.

               12.       This Order shall be effective and enforceable immediately upon entry.

               13.       The Court shall retain jurisdiction with respect to all matters arising from

or related to the implementation of this Order.




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